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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


    In re:                                                           Chapter 7

    CHRISTMAS TREE SHOPS, LLC, et al., 1                             Case No. 23-10576 (TMH)

                                  Debtors.                           (Jointly Administered)



    GEORGE L. MILLER, in his capacity as Chapter                     Adv. Proc. No. 25-50870 (TMH)
    7 Trustee of CHRISTMAS TREE SHOPS, LLC
    et al.,

                                  Plaintiff,

    vs.

    STAPLES BUSINESS ADVANTAGE,
    DIVISION OF STAPLES, INC.,

                                  Defendant.


              STIPULATION FOR EXTENSION OF TIME FOR DEFENDANT TO
                ANSWER OR OTHERWISE RESPOND TO THE COMPLAINT

                    Plaintiff, George L. Miller in his capacity as chapter 7 trustee of Christmas Tree

Shops, LLC, et al., (the “Plaintiff”), for the estates of the above-captioned debtors (the “Debtors”)

in the above-captioned cases pending under chapter 7 of title 11 of the United States Code (the

“Bankruptcy Code”), by and through his undersigned counsel and defendant Staples Business

Advantage, Division of Staples, Inc. (the “Defendant,” and together with Plaintiff, the “Parties”),

enter into this Stipulation for Extension of Time for Defendant to Answer or Otherwise Respond to

the Complaint (the “Stipulation”) and hereby stipulate and agree as follows:


1
      The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
      as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
      Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).


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          1.        The Parties agree and stipulate that the time within which the Defendant may

answer or otherwise respond to the First Amended Complaint [D.I. 3] in the above-captioned

adversary proceeding is hereby extended to and including July 24, 2025.

          2.        Except as specifically set forth herein, the Parties reserve all of their respective

rights in this matter.

 Dated: June 6, 2025                                       Dated: June 6, 2025

 PACHULSKI STANG ZIEHL & JONES LLP                         STAPLES, INC.

 /s/ Peter J. Keane                                        /s/ Kevin Jones
 Bradford J. Sandler (DE Bar No. 4142)                     Kevin Jones, Esq. (MA Bar No. 665576)
 Peter J. Keane (DE Bar No. 5503)                          500 Staples Dr.
 Edward A. Corma (DE Bar No. 6718)                         Framingham MA 01702
 919 North Market Street, 17th Floor                       Telephone: 508-253-4573
 P.O. Box 8705                                             Email: kevin.jones@staples.com
 Wilmington, DE 19899-8705 (Courier 19801)
 Telephone: (302) 652-4100                                 Counsel to Defendant
 Facsimile: (302) 652-4400
 Email: bsandler@pszjlaw.com
          pkeane@pszjlaw.com
          ecorma@pszjlaw.com

 Counsel to Plaintiff George L. Miller, Chapter 7
 Trustee of Christmas Tree Shops, LLC, et al.




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


    In re:                                                           Chapter 7

    CHRISTMAS TREE SHOPS, LLC, et al., 1                             Case No. 23-10576 (TMH)

                                  Debtors.                           (Jointly Administered)



    GEORGE L. MILLER, in his capacity as Chapter                     Adv. Proc. No. 25-50870 (TMH)
    7 Trustee of CHRISTMAS TREE SHOPS, LLC
    et al.,

                                  Plaintiff,

    vs.

    STAPLES BUSINESS ADVANTAGE,
    DIVISION OF STAPLES, INC.,

                                  Defendant.


                                        CERTIFICATE OF SERVICE

                    I, Peter J. Keane, hereby certify that on the 6th day of June, 2025, I caused a copy

of the following document(s) to be served on the individual(s) on the attached service list(s) in the

manner indicated:


             STIPULATION FOR EXTENSION OF TIME FOR DEFENDANT TO
             ANSWER OR OTHERWISE RESPOND TO THE COMPLAINT


                                                       /s/ Peter J. Keane
                                                       Peter J. Keane (DE Bar No. 5503)



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      as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
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CHRISTMAS TREE SHOPS, LLC –
Service List
re STAPLES BUSINESS ADVANTAGE,
A DIVISION OF STAPLES, INC.
Adv. Pro. No. 25-50870 (TMH)
Doc. No. 4914-3778-3371
01 – Email

Email
(Counsel for Staples Business Advantage,
A Division of Staples, Inc.)
Kevin Jones, Esq. (MA Bar No. 0085201)
500 Staples Dr.
Framingham MA 01702
Telephone: 508-253-4573
Email: kevin.jones@staples.com

Counsel to Defendant




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